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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------X
VERNITA WORRELL,

                                          Plaintiff,                        COMPLAINT

                     -against-                                              Civil Action No.
                                                                               1:22-cv-5829
LEXINGTON AVENUE NEWS, INC. AND
133 EAST 84TH STREET LLC,

                                          Defendants.
--------------------------------------X


             Plaintiff, VERNITA WORRELL, (hereinafter the “Plaintiff”), by and through her

counsel, The Marks Law Firm, P.C., hereby files this Complaint and sues LEXINGTON AVENUE

NEWS, INC., a domestic business corporation, and 133 EAST 84TH STREET LLC, a domestic

limited liability company corporation, both registered in the State of New York, (hereinafter

collectively “Defendants”), for a) injunctive relief, b) compensatory relief, and c) attorney fees and

costs pursuant to 42 U.S.C. 12181, et. Seq., of the Americans with Disabilities Act (“ADA”), the

New York Human Rights Law (“NYCHRL”), and the New York State Human Rights Law

(“NYSHRL”) and alleges:

                                    JURISDICTION AND PARTIES

      1. This is an action for declaratory and injunctive relief pursuant to Title III of the ADA, 42

U.S.C. § 12181, et. Seq. This Court is vested with original jurisdiction under 28 U.S.C. §1331 and

§1343.

      2. Venue is proper in this Court, pursuant to 28 U.S.C. §1391(B) in that all events giving

rise to this lawsuit occurred in the State of New York.
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      3. The violative Premises and the events giving rise to this lawsuit is located at 1248

Lexington Avenue, New York, New York 10028 (hereinafter “Premises”).

      4. Venue is proper in this Court as the premises is located in the State of New York, County

of New York.

      5. The Defendants LEXINGTON AVENUE NEWS, INC., and 133 EAST 84TH STREET

LLC are each authorized to conduct, and are conducting business within the State of New York.

      6. Upon information and belief, LEXINGTON AVENUE NEWS, INC., is the lessee and/or

operator of the real property, and the owner of the improvements where the Premises is located

which is the subject of this action. Defendant also maintains and controls the Premises.

      7. Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, Defendants’ Premises is a

place of public accommodation in that it is an establishment which provides goods and services

to the public.

      8. Upon information and belief, 133 EAST 84TH STREET LLC is the owner, lessor and/or

operator and managing agent of the real property where the Premises is located, which is the

subject of this action, which also maintains and controls the Premises.

      9. Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building and/or Premises

which is the subject to this action is a public accommodation covered by the ADA and which must

be in compliance therewith.

      10.        The remedies provided by the NYSHRL against discrimination are not exclusive

and state administrative remedies need not be exhausted in connection with suits brought under

the Federal Civil Rights Act.
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     11.      At the time of Plaintiff’s visit to the Premises, and prior to the instant action, Plaintiff

was/is a resident in the state of New York. Plaintiff is a paraplegic, which constitutes a “qualified

disability” under the ADA of 1990. Plaintiff uses a wheelchair for mobility.

     12.      On or about February 23, 2022, Plaintiff attempted to enter Defendants’ Premises to

purchase news material and a drink, however because of the architectural barriers at the entrances

of the store, a step at the entrance, Plaintiff was denied full and equal access to, and full and equal

enjoyment of, the facilities at Defendants’ Property, which is subject to this instant litigation.

Plaintiff intends on returning to patron the store when the violations are remediated.

     13.      Defendants’ violations impede upon Plaintiff’s, and other similarly situated disabled

individuals’ right to travel free of discrimination.

      COUNT I - VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

     14.      The ADA prohibits discrimination on the basis of disability. The Act guarantees

reasonable accommodations for individuals with disabilities to ensure they are not the subject of

discrimination.

     15.      The ADA and 2004 ADA/ABA Accessibility Guidelines for Buildings and

Facilities (36 CFR Part 1191, Appendices B and C) along with 28 CFR Part 36, Subpart D, the

New Construction and Alterations portion of Title III (all hereinafter referred to as the “2010

Standards” or “Accessibility Standards”) dictate that property owners and operators of

commercial premises being used as “commercial establishments” are responsible for complying

with these Federal Accessibility Standards.

     16.      The Plaintiff is informant and believes, and therefore alleges that the Premises has

begun operations and/or undergone substantial remodeling, repairs and/or alterations since

January 26, 1990.
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     17.      Defendants have discriminated, and continue to discriminate, against the Plaintiff,

and others that are similarly situated, by denying full and equal access to and full and equal

enjoyment of goods, services, facilities, privileges, advantages, and/or accommodations at

Defendants’ Premises, in violation of these Accessibility Standards.

     18.      The Plaintiff has been unable to, and continues to be unable to, enjoy full and

equal safe access to, and the benefits of, all the accommodations and services offered at

Defendants’ Premises.

     19.      Plaintiff visited Defendants’ Premises with the intention of utilizing Defendants’

facilities, but was denied access to the Premises, and therefore suffered an injury in fact. In

addition, Plaintiff continues to reside in New York and will continue to desire to visit the

Premises in the future, but continues to be injured in that she is unable to and continues to be

discriminated against due to the architectural barriers which remain at the Premises, all in

violation of the ADA, and New York State and City Human Rights Law.

     20.      Pursuant to the mandates of 42 U.S.C. §12134(a), On July 26, 1991, the

Department of Justice, Office of Attorney General, promulgated Federal Regulations to

implement the requirements of the ADA, known as the American with Disabilities Act

Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under which said

Department may obtain civil penalties of up to $55,000 for the first violation and $110,000 for

any subsequent violation.

     21.      The Defendants’ Premises is in violation of 42 U.S.C. §12181 et. Seq., ADA and

the 2010 Standards, and is discriminating against the Plaintiff as a result of inter alia the

following specific violations:
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                     a. Failure to provide an accessible entrance at street level door, due to the

                        step at the entrance, and the failure to install a ramp with appropriate slope

                        and signage, and/or otherwise provide accessible and properly designated

                        entrance. This barrier represents an insurmountable barrier to independent

                        entry by the Plaintiff and other individuals who use wheelchairs.

                     b. Failure to provide a safe and accessible means of egress for emergencies.

                     c. The merchandise throughout the Premises is inaccessible.

                     d. Failure to provide accessible service/check-out counter.

                     e. Failure to provide adequate directional and accurate informational signage

                        throughout the Premises.

                     f. Failure to provide signage addressing people with disabilities informing

                        them that accessible services are provided.

      22.      Upon information and belief, there are other current violations of, inter alia, the

ADA at Defendants’ Premises, and only once a full inspection is done can all said violations be

identified.

      23.      To date, the barriers and other violations of the ADA still exist and have not been

remedied or altered in such a way as to effectuate compliance with the provisions of the ADA.

      24.      Pursuant to ADA, 42 U.S.C. §1201 et. Seq. and the Accessibility Standards, the

Defendants were required to make the Premises, a place of public accommodation, accessible to

person with disabilities since January 28, 1992. To date, the Defendants have failed to comply

with this mandate.

      25.      Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant the

Plaintiff injunctive relief; including an order to alter the Premises to make them readily
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accessible to, and useable by, individuals with disabilities to the extent required by ADA, and

closing the Subject Facilities until the requisite modifications are completed.

   COUNT II – VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW

      26.      Plaintiff repeats, reiterates, and re-alleges each and every allegation contained

hereinabove in paragraphs “1” through “25” inclusive of this Complaint with the same force and

effect as if hereinafter set forth at length.

      27.      The New York City Human Rights Law provides:

                    a. It shall be an unlawful discriminatory practice for any person, being the

                        owner, lessee, proprietor, manager, superintendent, agent or employee of

                        any place or provider of public accommodation because of the actual or

                        perceived…disability…of any person, directly or indirectly, to refuse,

                        withhold from or deny to such person any of the accommodations,

                        advantages, facilities or privileges thereof…to the effect that any of the

                        accommodations, advantages, facilities and or denied to any person on

                        account of…disability…

                        NYC Admin. Code §8-107(4)(a).

      28.       Defendants are in violation of the New York City Human Rights Law by denying

the Plaintiff full and safe access to all of the benefits, accommodations and services of the

Premises.

      29.      The Defendant’s unlawful discriminatory conduct constitutes willful and wanton

violations of the Administrative Code for which Plaintiff is entitled to an award of punitive

damages. Admin. Code §8-502.
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COUNT III – VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW

      30.      Plaintiff repeats, reiterates, and re-alleges each and every allegation contained

hereinabove in paragraphs “1” through “29” inclusive of this Complaint with the same force and

effect as if hereinafter set forth at length.

      31.      The New York State Human Rights Law provides:

                    a. It shall be unlawful discriminatory practice for any person, being the

                        owner, lessee, proprietor, manager, superintendent, agent, or employee of

                        any place of public accommodation…because of the…disability…of any

                        person, directly, or indirectly, to refuse, withhold from or deny to such

                        person any of the accommodations, advantages, facilities, or privileges

                        thereof…to the effect that any of the accommodations, advantages,

                        facilities and privileges of any such place shall be refused, withheld from

                        or denied to any person on account of…disability…

                        NYS Exec. Law §296 (2)(a).

      32.       Defendants’ Premises is a place of public accommodation as defined in the New

York State Human Right Law.

      33.      The Defendants have further violated the New York State Human Rights Law by

being in violation of the rights provided under the ADA.

      34.      Defendants are in violation of the New York State Human Rights law by denying

the Plaintiff full and safe access to all of the benefits, accommodations and services of the

Premises.
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                                         PRAYER FOR RELIEF

     35.       The Plaintiff demands compensatory damages in an amount to be determined by

proof, including all applicable statutory damages and fines, for violations of their civil rights

under New York State Human Rights Law and City Claw, including compensatory damages

contemplated by §297(4)(c).

     36.      Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant the

Plaintiff’s injunctive relief; including an order to alter the Premises to make them readily

accessible to, and useable by, individuals with disabilities to the extent required by the ADA, the

New York City Human Rights Law, and the New York State Human Rights law, and closing the

Subject Facilities until the requisite modifications are completed.

     37.      Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by

state and federal law;

       WHEREFORE, the Plaintiff hereby demands judgment against the Defendants joint and

severally and requests the following injunctive and declaratory relief:

                   a. The Court declares the Premises owned, operated, leased, controlled,

                         and/or administered by the Defendants are in violation of the ADA, the

                         New York City Human Rights Law, and of the New York State Human

                         Rights Law;

                   b. The Court enter an Order requiring the Defendants to alter their facilities

                         and amenities to make them accessible to and usable by individuals with

                         disabilities to the full extent required by Title III of the ADA and by

                         NYCHRL, and the NYSHRL;
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               c. The Court enter an order directing the Defendants to evaluate and

                  neutralize their policies, practices and procedures toward persons with

                  disabilities, for such reasonable time to as to allow the Defendants to

                  undertake and complete corrective procedures to the Premises;

               d. The Court award compensatory damages, including all applicable

                  statutory damages and fines, to Plaintiff;

               e. The Court award reasonable attorney fees, all costs (including but not

                  limited to court costs, expert fees, etc.) and other expenses of suit to the

                  Plaintiff; and

               f. The Court award such other and further relief as this Court deems

                  necessary, just and proper.

Dated: New York, New York
       July 8, 2022

                                        THE MARKS LAW FIRM, PC

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VERNITA WORRELL,

                            Plaintiff,

             -against-

LEXINGTON AVENUE NEWS, INC. AND 133 EAST 84TH STREET LLC,




                            Defendants,


                         SUMMONS AND COMPLAINT




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